  Case 23-53867-jwc      Doc 19    Filed 06/14/23 Entered 06/14/23 14:35:11        Desc
                                       Page 1 of 2



                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                       )       CHAPTER 13
STEPHANIE RANA CARTER                        )       CASE: A23-53867-JWC
                                             )
                                             )
                DEBTOR                       )

           CHAPTER 13 TRUSTEE’S SUPPLEMENTAL OBJECTION TO
              CONFIRMATION AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                            1.

      The plan fails to treat Georgia Department of Revenue, in violation of 11 U.S.C.
Section 1322(a) and/or 11 U.S.C. Section 502(a).

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 14th day of June, 2023.
                                        Respectfully submitted,

                                        /s/__________________________________
                                        Julie M. Anania
                                        Attorney for the Chapter 13 Trustee
                                        State Bar No. 477064
  Case 23-53867-jwc      Doc 19    Filed 06/14/23 Entered 06/14/23 14:35:11        Desc
                                       Page 2 of 2



                              CERTIFICATE OF SERVICE


Case No: A23-53867-JWC

I certify that on this day I caused a copy of this Chapter 13 Trustee's Supplemental
Objection To Confirmation And Motion To Dismiss Case to be served via United States
First Class Mail with adequate postage prepaid on the following parties at the address
shown for each:


Debtor(s)

STEPHANIE RANA CARTER
2675 HARRISON MILL DR
DOUGLASVILLE, GA 30135



I further certify that I have on this day electronically filed the foregoing Chapter 13
Trustee's Supplemental Objection To Confirmation And Motion To Dismiss Case using
the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this
document and an accompanying link to this document to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Attorney for the Debtor(s):

THE SEMRAD LAW FIRM, LLC


This the 14th day of June, 2023.


/s/__________________________________
Julie M. Anania
Attorney for the Chapter 13 Trustee
State Bar No. 477064
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
678-992-1201
